                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 11

    MD HELICOPTERS, INC., et al.,1                          Case No. 22-10263 (KBO)

             Debtors.                                       (Jointly Administered)

                                                            Related Docket No. 183


                            NOTICE OF WITHDRAWAL OF PLEADING

                   PLEASE TAKE NOTICE that the Certification of Counsel and of No Objection

Regarding Revised Bid Procedures Order with Respect to the Motion of Debtors for Entry of

(I) An Order (A) Approving Bid Procedures in Connection with the Sale of Substantially All of the

Debtors' Assets, (B) Scheduling an Auction and a Sale Hearing, (C) Approving the Form and

Manner of Notice Thereof, (D) Authorizing the Debtors to Enter Into the Stalking Horse

Agreement, (E) Approving Bid Protections, (F) Approving Procedures for the Assumption and

Assignment of Contracts and Leases, and (G) Granting Related Relief; and (II) An Order

(A) Approving the Sale of Substantially All of the Debtors Assets Free and Clear of All Liens,

Claims, Encumbrances, and Interests, (B) Authorizing the Assumption and Assignment of

Contracts and Leases, and (C) Granting Related Relief [Docket No. 183], filed April 21, 2022, is

hereby withdrawn without prejudice.




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    The two Debtors in these cases are MD Helicopters, Inc. and Monterrey Aerospace, LLC, and their address is 4555
    E. McDowell Road, Mesa, AZ 85215. The last four digits of MD Helicopters, Inc.’s taxpayer identification number
    are 4088. Monterrey Aerospace, LLC has not been assigned a taxpayer identification number as of the date hereof.

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Dated: April 21, 2022         Respectfully Submitted,
       Wilmington, Delaware
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                              - and -

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                              Counsel for Debtors and Debtors-in-Possession




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